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 8                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
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      PRECIOUS FAME, an individual,                )    Case No. 2:23-cv-02147-ART-NJK
10                                                 )
                      Plaintiff,                   )            ORDER GRANTING
11            vs.                                  )
12                                                 )     STIPULATION FOR DISMISSAL
      NUGENT LLC d/b/a GREAT CLIPS,                )          WITH PREJUDICE
13                                                 )
                                                   )
14                Defendant.                       )
      _________________________________
15
              Plaintiff Precious Fame (“Plaintiff”) and Defendant Nugent LLC d/b/a Great
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      Clips (“Defendant”), by and through their respective counsel of record, hereby agree
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      and stipulate that this action be dismissed with prejudice, with each party to bear its
18
      own attorneys’ fees and costs.
19
              Dated this 20th day of June, 2024.
20
      FISHER& PHILLIPS, LLP                            HATFIELD & ASSOCIATES, LTD
21
      /s/ Elizabeth Anne Hanson                        /s/ Trevor J. Hatfield
22    Scott M. Mahoney, Esq.                           Trevor J. Hatfield, Esq.
      Elizabeth Anne Hanson, Esq.                      703 S. Eighth Street
23    300 South Fourth Street, Suite 1500              Las Vegas, NV 89101
24    Las Vegas, NV 89101                              Attorneys for Plaintiff
      Attorneys for Defendant
25
                                                       IT IS SO ORDERED:
26

27                                                     ANNE R. TRAUM
                                                       UNITED STATES DISTRICT JUDGE
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                                                       DATED: June 21, 2024
      FP 51004356.1
